    Case 1:20-cv-10444-DJC Document 62 Filed 05/01/20 Page 1 of 23



                     UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MASSACHUSETTS


NEURAL MAGIC, INC.,

     Plaintiff,

                   v.                 Civil Action No. 1:20-cv-10444-DJC

FACEBOOK, INC. and ALEKSANDAR
ZLATESKI,

     Defendants.



              DECLARATION OF DR. ALEKSANDAR ZLATESKI
                IN SUPPORT OF DEFENDANTS’ OPPOSITION
             TO NMI’S MOTION FOR PRELIMINARY INJUNCTION
         Case 1:20-cv-10444-DJC Document 62 Filed 05/01/20 Page 2 of 23



I, Aleksandar Zlateski, declare as follows:

        1.     I provide this declaration in support of my and Facebook, Inc.’s (Facebook)

opposition to Plaintiff Neural Magic, Inc.’s (NMI) motion for a preliminary injunction.

        2.     I am over eighteen years of age, have personal knowledge of the matters set forth

in this declaration, and if called upon to testify, would do so consistent with the statements in this

declaration.

        3.     The documents I discuss in this declaration are identified in the “Table of

Exhibits” below. True and correct copies of these documents are attached to this declaration, as

the exhibits noted. Where applicable, links to documents are provided.

                                     TABLE OF EXHIBITS
  Ex.                                          Description
 A.     Zlateski, Scalable Algorithms for Semi-Automatic Segmentation of Electron
        Microscopy Images of the Brain Tissue (2016)
 B.     Zlateski, ZNN – A Fast and Scalable Algorithm for Training 3D Convolutional
        Networks on Multi-Core and Many-Core Shared Memory Machines (2016)
 C.     Lee and Zlateski, Recursive Training of 2D-3D Convolutional Networks for Neuronal
        Boundary Detection (2016)
 D.     Zlateski, ZNNi: Maximizing the Inference Throughput of 3D Convolutional Networks
        on CPUs and GPUs, IEEE (2016)
 E.     Zlateski, Compile-time optimized and statically scheduled N-D convent primitives for
        multi-core and many-core (Xeon Phi) CPUs, ICS (2017)
 F.     Zlateski, Optimizing N-dimensional, winograd-based convolution for manycore CPUs,
        PPOPP (2018)
 G.     Zlateski, Scalable training of 3D convolutional networks on mutli- and many-cores,
        Journal of Parallel and Distributed Computing, vol. 106, 195-204 (Aug. 2017)
 H.     Zlateski, FFT Convolutions are Faster than Winograd on Modern CPUs, Here is Why
        (2018)
 I.     Zlateski, The anatomy of efficient FFT and Winograd convolutions on modern CPUs,
        ICS (June 2019)
 J.     Zlateski, A Deeper Look at FFT and Winograd Convolutions (2018)
 K.     BitBucket repository for Winograd and FFT convolutions (uploaded to BitBucket in
        December 2017)
       Case 1:20-cv-10444-DJC Document 62 Filed 05/01/20 Page 3 of 23




                                  TABLE OF EXHIBITS
Ex.                                          Description
      Available at: https://bitbucket.org/poozh/znnunified/src/master/code/include/znn/jit/
      gemm/avx512.h pp)
L.    Liu et al., Sparse Convolutional Neural Networks, IEEE Conference on Computer
      Vision and Pattern Recognition (CVPR) (2015)
M.    Fast Convolutional Nets With fbfft: A GPU Performance Evaluation
N.    Tensor Comprehensions: Framework-Agnostic High-Performance Machine Learning
      Abstractions
O.    LinkedIn messages with Dr. Park
P.    Follow-up correspondence with others at Facebook
Q.    Request for collaboration submitted at Facebook
R.    Goto, Anatomy of High-Performance Matrix Multiplication, ACM Transactions on
      Mathematical Software (May 2008)
S.    Gunnels, A Family of High-Performance Matrix Multiplication Algorithms, ICCS
      (2001)
T.    Park, Efficient Matrix Multiplication Using Cache Conscious Data Layouts (2001)
U.    Lam, The Cache Performance and Optimizations of Blocked Algorithms, ASPLOS
      (1991)
V.    Jia, Optimizing N-Dimensional, Winograd-Based Convolution, PPoPP (2018)
W.    Heinecke, High Order Seismic Simulations on the Intel Xeon Phi Processor (Knights
      Landing), ISC High Performance (2016)
X.    Bramas, Computing the Sparse Matrix Vector Product using Block-Based Kernels
      Without Zero Padding on Processors with AVX-512 Instructions, PeerJ Computer
      Science (2018)
Y.    source code used in Bramas publication showing the use of 7-byte FMA instructions
Z.    avx512_with_scatter.hpp https://bitbucket.org/poozh/ond-
      winograd/src/master/include/znn/asm/avx512_with_scatter.hpp
AA. https://bitbucket.org/poozh/znnunified/src/master/code/include/znn/jit/cgemm/avx512.
    hpp
BB. Pabst, LIBXSMM Library Targeting Intel Architecture (x86) for Small, Dense or
    Sparse Matrix Multiplications, and Small Convolutions, 34 (Mar. 9, 2017)
CC. Heinecke, LIBXSMM: Accelerating Small Matrix Multiplications by Runtime Code
    Generation, Supercomputing, 5 (2016)
         Case 1:20-cv-10444-DJC Document 62 Filed 05/01/20 Page 4 of 23



       4.      I am a computer scientist. I earned two bachelor’s degrees from MIT in 2008,

one in physics and another in electrical engineering and computer science. In 2011, I earned my

master’s degree in engineering, also from MIT. In 2016, I earned a Ph.D. in computer science

from MIT.

       5.      My Ph.D. thesis was entitled Zlateski, Scalable Algorithms for Semi-Automatic

Segmentation of Electron Microscopy Images of the Brain Tissue (2016). See Ex. A. My Ph.D.

thesis was submitted in April 2016 and focused on “fast and scalable algorithms” for “training

and applying convolutional neural networks,” e.g., for processing three-dimensional images of

brain tissue. Ex. A at 3. It discusses an approach that would enable standard computer

processors (CPUs) to run neural networks at speeds comparable to or greater than the speeds

achieved on graphics processing units (GPUs)—“a high throughput inference algorithm that can

utilize all available computational resources, CPUs and GPUs.” Ex. A at 3.

       6.      In 2016, I also published a well-received and award-winning paper entitled “ZNN

– A Fast and Scalable Algorithm for Training 3D Convolutional Networks on Multi-Core and

Many-Core Shared Memory Machines.” Ex. B. As the title suggests, this paper discusses

algorithms for training neural networks on CPUs. Ex. B.

       7.      After I earned my Ph.D. from MIT, I conducted postdoctoral research at Princeton

and MIT. My postdoctoral research, like my earlier research, focused on, among other things,

efficient algorithms for convolutional neural networks (CNNs) on CPUs. In developing such

algorithms, I investigated and developed efficient approaches to matrix multiplication for neural

networks, including techniques for optimizing matrix multiplication algorithms. Those

approaches included work with just-in-time (JIT) compilers, which I have used for years in my

high performance computing work.
         Case 1:20-cv-10444-DJC Document 62 Filed 05/01/20 Page 5 of 23



       8.     In addition to my thesis and the paper identified in Paragraph 6 above, I published

(or was in the process of publishing) numerous different papers disclosing the results of my work

with matrix multiplication processes, JIT compiler optimization techniques, and/or neural

networks on CPUs from before my time at NMI, and also published source code embodying that

work, all of which were publicly available long before I joined Facebook. See, e.g., Ex. C, Lee

and Zlateski, Recursive Training of 2D-3D Convolutional Networks for Neuronal Boundary

Detection (2016); Ex. D, Zlateski, ZNNi: Maximizing the Inference Throughput of 3D

Convolutional Networks on CPUs and GPUs, IEEE (2016); Ex. E, Zlateski, Compile-time

optimized and statically scheduled N-D convent primitives for multi-core and many-core (Xeon

Phi) CPUs, ICS (2017); Ex. F, Zlateski, Optimizing N-dimensional, winograd-based convolution

for manycore CPUs, PPOPP (2018); Ex. G, Zlateski, Scalable training of 3D convolutional

networks on mutli- and many-cores, Journal of Parallel and Distributed Computing, vol. 106,

195-204 (Aug. 2017); Ex. H, Zlateski, FFT Convolutions are Faster than Winograd on Modern

CPUs, Here is Why (2018); Ex. I, Zlateski, The anatomy of efficient FFT and Winograd

convolutions on modern CPUs, ICS (June 2019); Ex. J, Zlateski, A Deeper Look at FFT and

Winograd Convolutions (2018); see also Ex. K, BitBucket repository for Winograd and FFT

convolutions (uploaded to BitBucket in December 2017) (source code embodying my work with

matrix multiplication and JIT compilers, which was publicly available long before I joined

Facebook), available at

https://bitbucket.org/poozh/znnunified/src/master/code/include/znn/jit/gemm/avx512.hpp.

       9.     I met Drs. Nir Shavit and Alex Matveev while studying for my Ph.D. Dr. Shavit

was one of the supervisors for my Ph.D. thesis, and Dr. Matveev worked in Dr. Shavit’s lab as a
           Case 1:20-cv-10444-DJC Document 62 Filed 05/01/20 Page 6 of 23



researcher. Drs. Shavit and Matveev knew the focus of my academic work. In fact, Dr. Shavit’s

lab was running code from my research.

          10.    In the last days of November 2017, Drs. Shavit and Matveev approached me with

their idea for a new company. They explained to me that they wanted to run fast CNN

algorithms on CPUs, and they claimed to have had some breakthroughs with this technology. I

was interested because this was one element of my doctoral and postdoctoral research.

          11.    I joined NMI on March 16, 2018, while completing my postdoctoral work. I was

NMI’s first employee.

          12.    When I started working at NMI, I was surprised to learn that Drs. Shavit and

Matveev had not developed any new algorithms or code for neural networks, let alone new

algorithms or code for running matrix multiplication (dense or sparse) on CPUs. They expected

me to use my previous work, and that work ended up being the foundation for NMI, including

the work I had already disclosed publicly and the work I was in the process of publishing.

          13.    During my first six months at NMI, I tried to help NMI develop its software,

including sparse matrix multiplication software, often pulling directly from my earlier Ph.D. and

postdoctoral research and other public resources, including an academic paper by Baoyuan Liu,

which discloses an algorithm and pseudocode for sparse general matrix multiplication (“sparse

GEMM”). See Ex. L, Liu et al., Sparse Convolutional Neural Networks, IEEE Conference on

Computer Vision and Pattern Recognition (CVPR) (2015).

          14.    In the fall of 2018, NMI had no product, no customers, no revenue, and no

profits.1 NMI could not attract the talent it needed. And I had no confidence that NMI’s

leadership, Drs. Shavit and Matveev, would be able to make the company successful because



1
    This was still true when I left in July 2019, and to my knowledge, remains true today.
         Case 1:20-cv-10444-DJC Document 62 Filed 05/01/20 Page 7 of 23



they had a vague business model and no consistent strategy for achieving NMI’s goals. Instead

of inventing revolutionary ideas to contribute to the field, NMI’s merely aimed to use, build on

top of, and commercialize my academic work and other public domain information. But I was

interested in creating and publishing new discoveries in the field, rather than focusing on

attempts to commercialize my prior work. In or around September 2018, I told Drs. Shavit and

Matveev that I was dissatisfied because the company had been oversold to me and was built on

my prior work, and I was considering leaving NMI. In January 2019, I began interviewing for

positions at other companies.

       15.     I was interested in Facebook because it is a market leader in machine learning and

artificial intelligence research and because I also was familiar with publications coming out of

Facebook’s AI Research (FAIR) group, and had been particularly impressed by their papers

titled “Fast Convolutional Nets With fbfft: A GPU Performance Evaluation” and “Tensor

Comprehensions: Framework-Agnostic High-Performance Machine Learning Abstractions.” See

Exs. M and N. Also, my Ph.D. advisor had recommended FAIR as a good match for me while I

doing my Ph.D. research. In 2017 and early 2018, when I was doing my postdoctoral research,

Dr. Jongsoo Park at Facebook had tried to recruit me. Thus, in December 2018, I reached out to

Dr. Park on LinkedIn to see if Facebook had openings for research scientists. See Exhibit O

(LinkedIn messages with Dr. Park); Ex. P (follow-up correspondence with others at Facebook).

       16.     In January and February 2019, I had phone and on-site (in New York) interviews

with Facebook. On March 12, 2019, I accepted Facebook’s offer to join the company as an

Applied Research Scientist.

       17.     After receiving Facebook’s offer, I told Drs. Shavit and Matveev that I would be

leaving NMI. In a subsequent conversation, I told Drs. Shavit and Matveev that I would be
         Case 1:20-cv-10444-DJC Document 62 Filed 05/01/20 Page 8 of 23



joining Facebook’s FAIR group and, within FAIR, the Systems in Machine Learning (SysML)

sub-group, where I would continue with my prior research.

        18.   Drs. Shavit and Matveev did not object to my joining Facebook or tell me that

joining Facebook would be a breach of any agreement I had with NMI. Rather, they encouraged

me to collaborate with NMI after I went to Facebook. They also asked me to stay with NMI as

long as I could. I knew that I would be leaving the Boston area in July 2019, when my wife, a

resident doctor, was set to leave one residency in Cambridge, Massachusetts, for another in New

York, New York. I agreed to stay at NMI until then, so I could teach, and transfer knowledge to,

engineers hired to replace me.

        19.   I left NMI on July 5, 2019. When I left NMI, there was no exit interview or

request for return of information. I asked Drs. Shavit and Matveev if I could hold onto my NMI

computer a couple weeks longer, and I remember them telling me, “Keep it. It’s a goodbye

present.” NMI also allowed me to continue to access to NMI’s Slack channels, so I could, for

example, continue to help engineers at NMI with questions about my prior work. Drs. Shavit

and Matveev did not try to prevent me from leaving or joining Facebook.

        20.   I joined Facebook on July 8, 2019, and was assigned to the SysML sub-group of

FAIR.

        21.   In my view, the compensation package I received from Facebook was consistent

with industry norms and my level of experience. Indeed, my compensation from Facebook is

consistent with the offers I received from other companies. I never told NMI my compensation

at Facebook. Dr. Shavit did ask if NMI could match my offer, but, on separate occasions, I told

him (i) my decision to leave NMI was not financially driven and (ii) I was happy with

Facebook’s offer.
           Case 1:20-cv-10444-DJC Document 62 Filed 05/01/20 Page 9 of 23



       22.     My first project at Facebook was a research project related to a machine learning-

based performance model that can take into account memory access patterns, vectorization, and

other factors and accurately predict end-to-end execution times of large neural networks. The

goal of this project was to show proof of concept and to publish and present at conferences.

Ultimately, this work was not selected for presentation at that conference I was targeting, but the

work on this project is still ongoing. The goal is still to publish papers relating to this research.

       23.     I am not and never was a member of Facebook’s AI System Software/Hardware

Co-Design group, the team responsible for the Facebook General Matrix Multiplication

(FBGEMM) code at issue. I did, however, have conversations with Dr. Park, who headed

Facebook’s AI System Software/Hardware Co-Design group, and it occurred to me and Dr. Park

that my experience with the optimization of neural networks and GEMM processes might be

useful in FBGEMM. Dr. Park encouraged me to write some code for a fast sparse matrix

multiplication, which could help speed up convolution and fully-connected layers of a neural

network.

       24.     I wrote this code for Dr. Park and the FBGEMM team from scratch. I did not use

or reference any NMI code to do that work, and I did not base any of my Facebook code on any

NMI algorithms. To the extent I relied on resources outside of Facebook for this exercise, those

resources were (i) my prior work at MIT and Princeton, i.e., my Ph.D. and postdoctoral research,

(ii) the Liu paper I mentioned above, and (iii) my general education in the field from years of

study. In my view, any person in my field with knowledge of and experience with standard

matrix multiplication, JIT compiler optimization techniques, and the Liu paper would have been

able to write the code I wrote for Dr. Park (and would have understood each of the well-known

optimization techniques NMI now claims are trade secrets).
        Case 1:20-cv-10444-DJC Document 62 Filed 05/01/20 Page 10 of 23



       25.     When the code I wrote was complete, I shared it with Dr. Park. Dr. Park then

rewrote that code using a different tool for generating assembly code, ASMJIT, which

preexisting FBGEMM code used. I have not worked further on FBGEMM since providing this

code to Dr. Park, and have no plans to do so.

       26.     While at Facebook, I also followed through with my promise to look for

opportunities to collaborate with NMI. See Ex. Q (request for collaboration submitted at

Facebook).

       27.     I
Case 1:20-cv-10444-DJC Document 62 Filed 05/01/20 Page 11 of 23
Case 1:20-cv-10444-DJC Document 62 Filed 05/01/20 Page 12 of 23
Case 1:20-cv-10444-DJC Document 62 Filed 05/01/20 Page 13 of 23
Case 1:20-cv-10444-DJC Document 62 Filed 05/01/20 Page 14 of 23
Case 1:20-cv-10444-DJC Document 62 Filed 05/01/20 Page 15 of 23
        Case 1:20-cv-10444-DJC Document 62 Filed 05/01/20 Page 16 of 23




       39.    Computing CMR (or Arithmetic Intensity or AI) is a necessary step used for

applying the “roofline model” for a theoretical estimate of efficiency/speed. My publications

“The anatomy of efficient FFT and Winograd convolutions on modern CPUs,” “FFT

Convolutions are Faster than Winograd on Modern CPUs, Here is Why,” and “Optimizing N-
        Case 1:20-cv-10444-DJC Document 62 Filed 05/01/20 Page 17 of 23




       42.     I understand that NMI argues that the code I wrote for Dr. Park and the

FBGEMM was an “unexpected shift” for Facebook. Scott Decl. ¶ 138. I disagree. For reasons

discussed above, the optimization techniques I used in the code I wrote for Dr. Park were well-

known and used in my prior work from before NMI. Their use in any sparse matrix
        Case 1:20-cv-10444-DJC Document 62 Filed 05/01/20 Page 18 of 23



multiplication code, including FBGEMM, would be expected, not unexpected. Also, Dr. Park

and others on the FBGEMM team were already working on loop unrolling in sparse matrix

multiplication and related optimization techniques before I arrived at Facebook.

       43.     I understand that NMI also points to certain code variables— “ArCr,” “AcBr,”

and “BcCc”—as evidence of misappropriation. I used these variables in my prior work from

before NMI, as shown by the fact that I included them in code that I posted to BitBucket in

December 2017. Ex. K, Source Code for GEMM JIT, as an integral part of Winograd and FFT

convolutions, at lines 10-15,

https://bitbucket.org/poozh/znnunified/src/master/code/include/znn/jit/gemm/avx512.hpp. I later

adopted this naming convention from my earlier work in the code I was writing at NMI.

       44.     I use the variables “ArCr,” “AcBr,” and “BcCc” because I find them easier to read

and more descriptive than the variables M, N, and K. They identify the rows and columns my

code uses to multiply matrix A by matrix B to yield resulting matrix C, following a standard

matrix multiplication process. In such a process, the A matrix consists of “M” number of rows

and “K” number of columns, the B matrix consists of “K” rows and “N” columns, and the C

matrix consists of “M” rows and “N” columns. The “M” number of A matrix rows and C matrix

rows match, so I refer to “M” as “ArCr,” representing A rows and C rows. The “K” number of

A matrix columns and B matrix rows match, so I refer to “K” as “AcBr,” representing A

columns and B rows. The “N” number of B matrix columns and C matrix columns match, so I

refer to N as “BcCc,” representing B columns and C columns.

       45.     Consistent with my naming convention, I used ArCr, AcBr and BcCc as variables

again when I wrote code at Facebook for FBGEMM. These variables were subsequently

renamed in the FBGEMM code to M, N, and K.
        Case 1:20-cv-10444-DJC Document 62 Filed 05/01/20 Page 19 of 23




       47.     I understand that NMI points to a typo in FBGEMM debugging code as evidence

of misappropriation. Scott Decl. ¶ 155. This typo is immaterial. It would not prevent the code

from being used. The code I gave to Dr. Park was independently tested.

       48.     I understand that Dr. Scott also points to “the short timeline to a successful

implementation of loop unrolling” as evidence of misappropriation. Scott Decl. ¶ 159. The time

it took me to write the code I gave to Dr. Park was not unusually fast or slow. Nor was Dr.

Park’s rewriting and posting of that code unusually fast or slow. I note that, as Dr. Scott’s

Exhibit 18 shows, when I helped NMI optimize its code using some of the well-known

optimization techniques that NMI now incorrectly claims are proprietary to it, I did that work in

one weekend. See Scott Decl. Ex. 18 (“Yep, better than I was hoping for... I was restless over

the weekend, and figured out efficient ways of computing for AVX512”).

       49.     I also reviewed NMI’s and Dr. Scott’s arguments that its alleged trade secrets

were not generally known. In two places, Dr. Scott misquotes portions of statements I made

while at NMI. Specifically, in paragraph 161 of his declaration, Dr. Scott implies that I

acknowledged that the optimization techniques at issue had value because they increase

efficiency, citing to Exhibit 14 attached to his declaration. See Scott Decl. ¶ 161 (quoting a June
        Case 1:20-cv-10444-DJC Document 62 Filed 05/01/20 Page 20 of 23



13, 2019 email I wrote). First, the discussion Dr. Scott cites does not relate to the allegedly

proprietary algorithm NMI relies on in this case; it relates to a different algorithm.




                                 Scott Decl. Ex. 16.

       50.
        Case 1:20-cv-10444-DJC Document 62 Filed 05/01/20 Page 21 of 23




       51.     NMI never considered Facebook a competitor while I worked at NMI. In fact, to

the best of my recollection, I cannot recall anyone at NMI ever discussing how Facebook’s

business or research could or would conflict with any of the work NMI was doing. Also, as

discussed above, Drs. Shavit and Matveev never raised any concerns about my joining Facebook.

They knew I was going to be returning to research concerning machine learning, including

research that involved areas of inquiry that I addressed in my work before NMI, with which they

were familiar (e.g., optimization techniques for neural networks running on CPUs). In addition,

when I left NMI, it was clear to me that Drs. Shavit and Matveev were not concerned with my

Facebook work competing with theirs—they asked me to collaborate, and they asked if, while at

Facebook, I would consult for NMI.

       52.     I understand that NMI has requested that the Court order me to stop performing

“any further work . . . involving Facebook business units connected to machine learning in any

fashion.” D.I. 25. If I could not work with any business units connected to machine learning, I

would be precluded from doing any work for Facebook in the field and with the technologies to

which I have devoted over ten years of my life. Indeed, NMI’s conduct already has hindered my

ability to contribute to Facebook’s machine learning and artificial intelligence research, which is

what Facebook hired me to do.

       53.     Last, if the Court were to issue the order NMI seeks, that would have a

devastating impact on me, professionally and personally. I have spent years of my life

developing and advancing technologies in my field, with the utmost care and integrity. I never
        Case 1:20-cv-10444-DJC Document 62 Filed 05/01/20 Page 22 of 23



stole or otherwise misused any information from or proprietary to NMI, and NMI’s claims to the

contrary are an improper attack on my reputation, at Facebook and in my field.
Case 1:20-cv-10444-DJC Document 62 Filed 05/01/20 Page 23 of 23
